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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                      Debtors.                            (Jointly Administered)

                                                                          Ref. Docket Nos. 333 and 728

                         NOTICE OF FILING OF AMENDED EXHIBIT TO DEBTORS’
                       STATUS REPORT REGARDING CURE AMOUNTS FOR ASSUMED
                       LEASES AND THE RESOLUTION OF DISPUTED CURE AMOUNTS

                             PLEASE TAKE NOTICE that, on October 7, 2018, the above-captioned debtors

         and debtors-in-possession (the “Debtors”) filed the Debtors’ Status Report Regarding Cure

         Amounts for Assumed Leases and the Resolution of Disputed Cure Amounts [Docket No. 728]

         (the “Status Report”).2

                             PLEASE TAKE FURTHER NOTICE that attached as Exhibit A to the Status

         Report was a chart summarizing the status of each Cure Objection (the “Status Chart”).

                            PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is an

         amended Status Chart reflecting additional Cure Objections received and adjustments to certain

         statuses made since the filing of the Status Chart (the “Amended Status Chart”). A blackline

         comparing the Status Chart to the Amended Status Chart is attached hereto as Exhibit 2.




         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Status Report.

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